                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION
                                 No. 5:18-CT-3118-D


MIGUEL MARQUEZ-MARTINEZ,                     )
alk/a BRIANNA MARQUEZ-                       )
MARTINEZ,                                    )
                                             )
                              Plaintiff,     )
                                             )
              v.                             )                    ORDER
                                             )
UNITED STATES OF AMERICA, et al.,            )
                                             )
                              Defendants.    )

       Plaintiff seeks an extension of time until November 19,2018, to serve defendants, and has

shown good cause for the extension [D.E. 23]. The court GRANTS the motion.

       Defendant Calvin Terrance Davis seeks an extension of time until January 7, 2019, in order

to secure counsel after he is released from incarceration [D.E. 17]. The court GRANTS the motion,

and Davis shall file his answer on or before January 7, 2019.

       SO ORDERED. This tl. day of August 2018.




                                                        Chief United States District Judge




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